        Appellate Case: 16-4040                Document: 01019626508                     Date Filed: 05/24/2016                            Page: 1
                     TRANSCRIPT ORDER FORM • DIRECTIONS ON THE REVERSE SIDE
                         16-4040  Document: 01019602293 Date Filed: 04/13/2016 Page: 1
PART I - To be completed by appellant within fourteen days of filing the notice of appeal

Short Title: SCO Group v. IBM
District Court Number: 2:03-cv-00294-DN
                                                    District: USDC - District of Utah
                                                   Circuit Court Number: .....................
                                                                          16-4040             .........._         _____
Name of Attorney: -=E=dw=ar:...:::d:.....:N..:.;o=r=m=a:..:....:n=d---------------
        Name of Law Firm: Boies Schiller & Flexner LLP
        Address of Firm: 333 Main Street. Armonk. N.Y. 10504
        Telephone of Firm: 914-749-8200          Attorneys for: The SCO Group. Inc.
Name of Court Rep9rter: Kelly Hicken             Telephone of Reporter: 801-521-7238
                           ~   FO          o v ~(:,,.-,
PART II - COMPLE E SECTION A OR SECTION B
SECTION A - I HAVE NOT ORDERED A TRANSCRIPT BECAUSE                                                             RECEIVED CLERK
            DA transcript is not necessary for this appeal, or
            [] The necessary transcript is already on file in District Court                                         MAY 24 2016
            [] The necessary transcript was ordered previously in appeal
                number . . .      . . .. . · .   ·     ..    - . -- " · · ·                               : · . ll.S~ PlSTRICT COURT
                                                                                                                   - -- -+- -· - --- - '     -- - ._, ______   ·-~·~-

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SECTION B - I HEREBY ORDER THE FOLLOWING TRANSCRIPT:
                                       (Specify the date and proceeding in the space below)
Voir"dire:_._.,---...,.._...,.._...,..__ _ _ _ _ _·;··opening St~tement~~---·----...,.·_ _._          ... _._-._---~_-,..._. . __
                                                                                                                               "-·----·_--·-_---_
Trial proceedings:                                                  ; lnstruetion Cnf:·_- - - - - - - - - - - -
Jury Instructions:.· ·                                         ·· ; Closin9 Arguments:-----------
Post Trial Motions:                                                ; Other Proceedings: Please see attached
                                               (Attach additional pages if necessary)

                                     [X] Appellant will pay the cost of the transcript.
   --   · ·My signature on this form is my agreement to pay for the transcript ordered ·on this fonn: · - · ·

                     .            [] This case is proceeding under the Criminal Justice Act
 NOTE: Leave to proceed in forrna pauperis does not entitle appellant to a free transcript. An order of
 the district court allowing payment for the transcript at government expense must be obtained. See 28
 U.S.C. 753 f .
                                            CERTIFICATE OF COMPLIANCE
-i certify that I have: read the instructions on the reverse of this form and that copies·of this·transcriptorder ··
   form have been served on the court reporter (if transcript ordered), the Clerk of U.S. District Court,
     all counsel of record or pro se parties, and the Clerk of the U.S. Court of Appeals for the Tenth
  Circuit. I furthercertify that satisfactory arrangements for payment for anytranscript·ordered·have·been'
                   ·                    · · - made with the· col.Jrt reporter(s).   ··· ...... ·· -- ...... ---- ...- -----·-·· - - -----

        Signature of Attorney/Pro Se: Isl Edward Normand

PART Ill - TO BE COMPLETED BY THE COURT REPORTER
       Upon completion, please file one copy with the Clerk of the U.S. Court of Appeals andt9ne_copy
with the Clerk of the U.S. District Court.                                         ·         · ··

D.ate arrange.ments. fo. r .payment
Estimated co. m. pletion date:             M
                                            bomfj~~I':*r:r j(p · ' ' '
                                          JS: _ .,_    .· . . .                                -.
                                                                                                                                                    _...
Estimated number of pages: ___,Z,1_0  _______
I certify that I have read the·instru · s on the reverse side and that adequatearrangements·for·payment·
have been made. .                                                                                 ..

                                                                                                      Date:           ....-1;·"-~·~--·
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